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                           IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   STATESVILLE DIVISION

                                    CRIMINAL NO.:5:15cr38‐ RLV

    UNITED STATES OF AMERICA                             )

                                                         )        CONSENT ORDER AND
           V.                                            )      JUDGMENT OF FORFEITURE
                                                         )      PENDING RULE 32.2(c)(2)
    (1)MAWHEW ALAN SHAFFER                               )




            BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
    the property listed below and the offense(s) to which the Defendant has pled guilty and that the
    Defendant (or any combination of Defendants in this case) has or had a possessory interest or
    other legal interest in the property, IT IS HEREBY ORDERED THAT:

           1.      The following property is forfeited to the United States pursuant to 2l U.S.C. $
    853, provided, however, that forfeiture of specific assets is subject to any and all third party
    petitions under 2l U.S.C. $ 853(n), pending final adjudication herein:

           One CZ 9mm handgun, serial number 8198040 and ammunition;

           One Moore's Machine Co. AR-15, serial number 0425121580 and ammunition;

           One Marlin Model 60 .22 caliber rifle, serial number 11188452 and ammunition;

           One Ruger Mini-14 .223 caliber rifle, serial number 196-99482 and ammunition;

           Approximately $6,024.00 in United States currency;

           Approximately $118.00 in United States currencyl and

           One set of digital scales.

           2.       The United States Marshals Service, the investigative agency, and/or the agency
    contractor is authorized to take possession and maintain custody of the above specific asset(s).

            3. If and to the extent required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. $ 853(n),
    and/or other applicable law, the United States shall publish notice and provide direct written
    notice of forfeiture.

           4,       Any person, other than the Defendant, asserting any legal interest in the property
    may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
    petition the court for a hearing to adjudicate the validity of the alleged interest.




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        5. Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry of this order, the United States
Attorney's Office is authorized to conduct any discovery needed to identiff, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

       6.      As to any specific assets, following the Court's disposition of all timely petitions,
a finalorder of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

        The parties stipulate and agree that the aforementioned asset(s) constitute property
derived from or traceable to proceeds of Defendant's crime(s) herein or property used in any
manner to facilitate the commission of such offense(s) and are therefore subject to forfeiture
pursuant to 2l U.S.C. $ 853. The Defendant hereby waives the requirements of Fed. R. Crim. P.
32.2 and 43(a) regarding notice of the forfeiture in the charging instrument, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment against Defendant. If
the Defendant has previously submitted a claim in response to an administrative forfeiture
proceeding regarding any of this property, Defendant hereby withdraws that claim. If Defendant
has not previously submitted such a claim, Defendant hereby waives all right to do so. As to any
firearms listed above and/or in the charging instrument, Defendant consents to destruction by
federal, state, or local law enforcement authorities upon such legal process as they, in their sole
discretion deem to legally sufficient, and waives any and all right to further notice of such
process or such destruction.

JILL WESTMORELAND ROSE
UNITED STATES ATTORNEY


                                                        - ; tT/:zd7
                                                        MATTHEW ALAMSI-{AFFER
Assistant United States Attorney                        Defendant




                                                        NOELL TIN, ESQ.
                                                        Attorney for Defendant
Signed this the 29th day ofOctober,2015.




                                                HONORABLE DAVID S. C
                                                UNITED STATES MAGIS                TEJUDGE




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